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 9
                                  UNITED STATES DISTRICT COURT
10
                                EASTERN DISTRICT OF CALIFORNIA
11

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13
                                                                    No. 1:07-CV-01080-LJO-GSA
14   ROGER MCINTOSH,
                                                                    MEMORANDUM BY DEFENDANTS,
15                                            Plaintiff(s);         NORTHERN CALIFORNIA
     v.                                                             UNIVERSAL ENTERPRISE
16                                                                  COMPANY AND LOTUS
     NORTHERN CALIFORNIA UNIVERSAL                                  DEVELOPMENTS, L.P. RE COURT’S
17   ENTERPRISES COMPANY, ET AL.,                                   ORDER TO SHOW CAUSE
18
                                              Defendant(s).
19                                                                  JUDGE: Lawrence J. O’Neill
20
             Steven J Hassing, attorney for Northern and Lotus, simply forgot about this
21
     Court's Standing Order filed July 27, 2007 which limited briefs to 25 pages without
22

23
     seeking leave for variance. The result was Hassing's filing of a brief containing 8 pages

24   more than this Court's 25 page limit. Hassing has submitted a declaration herewith
25
     apologizing for his mistake.
26
             An extraordinary amount of time was spent marshalling the facts, researching the
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28
     law, writing the brief and preparing the supporting documents. Although this Court

                                                             1
     Memorandum by Defendants, Northern California Universal Enterprise Company and Lotus Developments, L.P. Regarding
                                               Court’s Order to Show Cause
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 1   would be justified in penalizing Hassing, Northern and Lotus should not have their entire
 2
     brief stricken because of Hassing's inadvertent and unintentional eight page mistake.
 3
             Had Hassing properly applied for leave to file a brief containing 8 additional
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 5   pages good cause would have been shown and this Court would likely have granted the
 6
     application. The grounds for summary judgment in this case are vast, including implied
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     license, merger, independent creation, substantial similarity, latches, estoppel and unclean
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     hands. Considerable space is taken up in detailing the law and facts relevant to those

10   many defenses.
11
             The Court is asked to consider this memorandum as a belated request for leave to
12
     exceed the 25 page limit by 8 pages.
13

14    ALTERNATIVE REMEDIES FOR VIOLATION OF THE STANDING ORDER

15           This Court is urged to consider remedies other than striking the brief. Three
16
     options are listed below in order of Defendants’ preference. Defendants suggest that the
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     first alternative is the fairest.
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19           First---Since trial is not scheduled to begin until March 1, 2010, there is plenty of

20   time to hear a summary judgment motion well in advance of trial. The cut off date for a
21
     hearing is presently October 30, five months prior to trial. Northern asks this Court to
22
     consider moving the deadline back two weeks to allow Plaintiff additional time to deal
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24   with the 8 extra pages of brief. In addition, Plaintiff should be granted leave to exceed,
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     by 8 pages, the 25 page limit for his opposition brief. In the event the motion is denied
26
     we would still be four and a half months away from trial. Hearing on Plaintiff's motion
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     could remain as scheduled, October 28.

                                                             2
     Memorandum by Defendants, Northern California Universal Enterprise Company and Lotus Developments, L.P. Regarding
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 1           Second--- Again, realizing that trial is presently six months into the future, the
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     Court could extend the hearing date and allow Northern to shorten the brief to 25 pages
 3
     by striking parts thereof. Although difficult, it could be done within 2 or 3 days of this
 4

 5   Court's Order allowing it.
 6
             Third--- Still extremely unfair to Northern and Lotus, but preferable to striking
 7
     the entire brief, this Court could strike the final 8 pages.
 8

 9
             The goal is justice. If it takes 33 pages to adequately demonstrate that Plaintiff

10   cannot prevail at trial everyone, including this Court and Plaintiff, would be better served
11
     by summary judgment. A three week jury trial, if Plaintiff cannot prevail, will clog the
12
     court and cost Plaintiff, as well as Defendants, a lot of money.
13

14           For these reasons, this Court is respectfully asked to allow the brief---with the 8

15   extra pages---provide additional time and a similar page limit waiver to plaintiff ---and
16
     sanction Hassing a reasonable amount for his inadvertent mistake.
17

18

19   Dated this 2nd day of October, 2009                   /s/ Steven J. Hassing, Esq.
                                                           Steven J Hassing, Attorney for Defendants.
20                                                         Northern and Lotus
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     Memorandum by Defendants, Northern California Universal Enterprise Company and Lotus Developments, L.P. Regarding
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 1
                                        CERTIFICATE OF SERVICE
 2
     1.      On October 2, 2009, I served the following document:
 3
             •        MEMORANDUM BY DEFENDANTS, NORTHERN CALIFORNIA
 4
                      UNIVERSAL ENTERPRISE COMPANY AND LOTUS
                      DEVELOPMENTS, L.P. RE ORDER COURT’S OSC
 5
     2.      The above-named document was served by the following means to the persons as
 6           listed below:
 7
      XX       United States Mail, first class postage fully prepaid and addressed to:
 8
               Irma Lira
 9             Courtroom Clerk
10
               United States District Court
               Courtroom 4
11             2500 Tulare Street
12             Fresno, CA 93821

13             James Braze
14
               Jeffrey Travis
               Borton, Petrini, LLP
15             1600 Truxtun Avenue
16
               Bakersfield, CA 93301

17             Chaka Okadigbo
18
               Garcia Calderon Ruiz, LLP
               500 South Grand Avenue, Ste. 1100
19             Los Angeles, CA 90071
20
               William L. Alexander
21             Alexander & Associates
22
               1925 G Street
               Bakersfield, CA 93301
23

24               By fax transmission. I faxed the document to the persons at the fax number listed
                 below. No error was reported by the fax machine that I used. A copy of the record
25               of the fax transmission is attached.
26
             I declare under penalty of perjury that the foregoing is true and correct.
27           Dated this 2nd day of October, 2009.

28                                                         /s/ Kimberley A. Hassing
                                                           Kimberley A. Hassing
                                                             4
     Memorandum by Defendants, Northern California Universal Enterprise Company and Lotus Developments, L.P. Regarding
                                               Court’s Order to Show Cause
